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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION



UNITED STATES OF AMERICA              §
                                      §
V.                                    §   CRIMINAL NO. H-14-124
                                      §
BRANDY STARR SHIPMAN                  §


                         REPORT AND RECOMMENDATION

        Before the court, by referral pursuant to 28 U.S.C. §636(b),

is the matter of the re-arraignment of Brandy Starr Shipman, the

defendant in this action.        On October 22, 2014, Defendant Brandy

Starr     Shipman   appeared   with   counsel    before   the   undersigned

magistrate judge for the purpose of entering a guilty plea to the

Indictment charging her with conspiracy to possess with intent to

distribute 50 grams or more of methamphetamine, in violation of 21

U.S.C. §§ 841(a)(1), (b)(1)(B)(viii) and 846.

        Defendant Shipman consented in writing to plead guilty before

a United States Magistrate Judge. After conducting said proceeding

in the form and manner prescribed by Rule 11 of the Federal Rules

of Criminal Procedure, this court makes the following findings of

fact:

        1.   Defendant Shipman, after consultation with counsel
             of record and with the approval of the government,
             has knowingly and voluntarily consented to be
             advised of her rights and to enter a plea of guilty
             before a U.S. Magistrate Judge subject to final
             approval and imposition of sentence by United
             States District Judge Lee Rosenthal.

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     2.    Defendant Shipman is fully competent and capable of
           entering an informed plea.

     3.    Defendant Shipman is aware of the nature of the charges,
           the maximum punishment range and other penalties that may
           be imposed at sentencing.

     4.    Defendant Shipman understands her constitutional and
           statutory rights and wishes to waive those rights.

     5.    Defendant Shipman understands that the sentencing judge
           is not bound by any recommendation on sentencing made by
           either counsel for the government or counsel for the
           defendant, and that if a recommendation on sentencing is
           not followed by the sentencing judge, she may not
           withdraw her plea of guilty.

     6.    Defendant Shipman’s plea of guilty is a knowing and
           voluntary plea supported by an independent basis in fact
           containing each of the essential elements of the offense
           charged in Count 1 of the Indictment.

     Based upon the foregoing, it is RECOMMENDED that the guilty

plea of Defendant Brandy Starr Shipman to Count 1 of the Indictment

be accepted by the court and that Brandy Starr Shipman be adjudged

guilty of the offense alleged in Count 1 of the Indictment, to wit:

conspiracy to possess with intent to distribute 50 grams or more of

methamphetamine,    in    violation       of   21   U.S.C.   §§   841(a)(1),

(b)(1)(B)(viii) and 846.

     The Clerk shall send copies of this Report and Recommendation

to the respective parties who have fourteen (14) days from the

receipt thereof to file written objections thereto pursuant to

General Order 2002-13.     Failure to file written objections within

the time period mentioned shall bar an aggrieved party from

attacking the factual findings and legal conclusions on appeal.


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     The original of any written objections shall be filed with the

United States District Clerk, P.O. Box 61010, Houston, Texas,

77208.   Copies of such objections shall be mailed to opposing

parties and to the chambers of the undersigned, 515 Rusk, Suite

7019, Houston, Texas 77002.

     SIGNED at Houston, Texas, this 22nd day of October, 2014.




                                      ______________________________
                                         U.S. MAGISTRATE JUDGE




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